Case 1:23-cv-00853-DAE Document 5-1 Filed 07/26/23 Page 1 of 11




        ATTACHMENT 1
  Declaration of Abraham Garcia
Case 1:23-cv-00853-DAE Document 5-1 Filed 07/26/23 Page 2 of 11
Case 1:23-cv-00853-DAE Document 5-1 Filed 07/26/23 Page 3 of 11
Case 1:23-cv-00853-DAE Document 5-1 Filed 07/26/23 Page 4 of 11




                       EXHIBIT 1
Case 1:23-cv-00853-DAE Document 5-1 Filed 07/26/23 Page 5 of 11
Case 1:23-cv-00853-DAE Document 5-1 Filed 07/26/23 Page 6 of 11
Case 1:23-cv-00853-DAE Document 5-1 Filed 07/26/23 Page 7 of 11
Case 1:23-cv-00853-DAE Document 5-1 Filed 07/26/23 Page 8 of 11




                       EXHIBIT 2
Case 1:23-cv-00853-DAE Document 5-1 Filed 07/26/23 Page 9 of 11
Case 1:23-cv-00853-DAE Document 5-1 Filed 07/26/23 Page 10 of 11
Case 1:23-cv-00853-DAE Document 5-1 Filed 07/26/23 Page 11 of 11
